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                                    No. 09-5088

              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE TENTH CIRCUIT


                            LINDSEY K. SPRINGER,

                                               Plaintiff-Appellee
                                          v.

             CHRISTOPHER D. ALBIN; JASON C. WHITE;
             DONALD A. ANDERSON; MARC K. COLLINS;
             KATHY L. BECKNER; DONALD G. SHOEMAKE;
             BRIAN SHERN; WILLIAM R. TAYLOR; SCOTT A
             WELLS; DIANA S. MEGLI; LOY DEAN SMITH,

                                                Defendants-Appellants


               ON APPEAL FROM THE UNITED STATES
           DISTRICT COURT FOR THE NORTHERN DISTRICT
            OF OKLAHOMA (JUDGE GREGORY K. FRIZZELL)


                    REPLY BRIEF FOR THE APPELLANTS


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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE TENTH CIRCUIT

                                   No. 09-5088

                           LINDSEY K. SPRINGER,

                                               Plaintiff - Appellee

                                          v.

                 CHRISTOPHER D. ALBIN; JASON C.
                 WHITE; DONALD A. ANDERSON;
                 MARC K. COLLINS; KATHY L. BECKNER;
                 DONALD G. SHOEMAKE; BRIAN SHERN;
                 WILLIAM R. TAYLOR; SCOTT A. WELLS;
                 DIANA S. MEGLI; LOY DEAN SMITH,

                                               Defendants-Appellants


             ON APPEAL FROM THE UNITED STATES
         DISTRICT COURT FOR THE NORTHERN DISTRICT
          OF OKLAHOMA (JUDGE GREGORY K. FRIZZELL)


                  REPLY BRIEF FOR THE APPELLANTS


        This reply brief is directed only to those contentions in the

  appellee’s answering brief that we believe warrant a further response.
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  With respect to points not discussed herein, we rely on our opening

  brief.1

            A.   Contrary to Springer’s contentions, the District
                 Court’s denial of the special agents’ claim of
                 qualified immunity is immediately appealable
                 under the collateral order doctrine

          The District Court’s denial of qualified immunity in this case

  turned on both issues of law and evidentiary sufficiency. Under the

  collateral order doctrine, a denial of a claim of qualified immunity is

  immediately appealable to the extent it turns on an issue of law. As we

  discussed in our opening brief (at 21-24), the District Court’s denial of

  the special agents’ claim of qualified immunity is an appealable

  interlocutory order under the collateral order doctrine because the

  defense asserted by the agents raises pure questions of law, and does

  not involve a question of the sufficiency of the evidence.2

      1
       “Aplt.App.” references are to the separately bound record appendix
  prepared by the appellants. “Att.” references are to the opinions and
  orders attached to the appellants’ opening brief.
     2
       As noted in our opening brief (at 6), Springer was indicted on
  March 10, 2009, for tax evasion, failure to file tax returns, and
  conspiracy to defraud the United States. See United States v. Lindsey
  Springer, et al., No. 4:09-cr-00043 (N.D. Okla.). On November 16, 2009,
  a jury found Springer guilty on Counts 1-6 of the indictment.
                                                                (continued...)

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          1. Springer argues (Br. 3, 20, 25) that the District Court’s denial

  of qualified immunity on the special agents’ motion for summary

  judgment is not an immediately appealable order because no discovery

  has taken place to distinguish the first denial of qualified immunity on

  the agents’ motion for judgment on the pleadings from the second

  denial of qualified immunity on the denial of summary judgment that is

  at issue here. The argument lacks merit.

          Both Harlow and Mitchell make clear that the qualified immunity

  defense is meant to give government officials the right not merely to

  avoid standing trial, but also to avoid such pretrial matters as

  discovery, which can be disruptive of effective government. Mitchell v.

  Forsyth, 472 U.S. 511, 526 (1985); Harlow v. Fitzgerald, 457 U.S. 800,

  817 (1982). As the Supreme Court stated in Behrens, “Mitchell clearly

  establishes that an order rejecting the defense of qualified immunity at

  either the dismissal stage or the summary judgment stage is a ‘final’

  judgment subject to immediate appeal.” Behrens v. Pelletier, 516 U.S.




      2
      (...continued)
  (See No. 4:09-cr-00043, Doc. 245.)

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  299, 307 (1996) (emphasis in original). See also Weise v. Casper, 507

  F.3d 1260, 1265 (10th Cir. 2007) (“Behrens rejects the ‘one-

  interlocutory-appeal’ approach and clarifies that the denial of qualified

  immunity at the dismissal stage does not preclude a renewal of that

  defense at summary judgment after further factual development has

  occurred.”) Therefore, an appeal is proper here from the denial of the

  motion for summary judgment on qualified immunity grounds, even

  though the agents dismissed their earlier appeal from the denial of

  their motion for judgment on the pleadings on qualified immunity

  grounds.

        Springer also is incorrect in arguing (Br. 20, 23) that there is

  nothing in the record to differentiate the special agents’ first claim of

  qualified immunity, raised in their motion for judgment on the

  pleadings, from their second claim of qualified immunity, raised in

  their motion for summary judgment. At the time the special agents

  filed their motion for summary judgment, further factual development

  of the record had occurred, with numerous declarations and exhibits

  submitted on their behalf regarding the circumstances surrounding the



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  search and seizure. (Aplt.App. 138-228.) The special agents’ motion for

  summary judgment on qualified immunity therefore was based on a

  completely different evidentiary foundation than their earlier motion

  for judgment on the pleadings. In this regard, the agents’ situation is

  similar to that in Knox v. Southwest Airlines, 124 F.3d 1103, 1105-07

  (9th Cir. 1997), where the Ninth Circuit held that it had jurisdiction

  over an appeal from a district court’s denial of a second summary

  judgment motion on qualified immunity grounds where the record had

  been supplemented with additional evidence in the form of an affidavit

  from a police officer.3

          Springer’s reliance (Br. 28) on this Court’s decision in Robbins v.

  Wilkie as supporting his no-jurisdiction argument is totally misplaced.




      3
       The declarations and exhibits at issue here were the same
  declarations and exhibits relied on by the Government in the motion for
  summary judgment filed on behalf of the two Assistant United States
  Attorneys named as defendants in the complaint. (Aplt.App. 16-17;
  Docs. 124-125.) On November 25, 2008, the District Court issued an
  order granting summary judgment in favor of those attorneys.
  (Aplt.App. 261-266.)

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   Robbins v. Wilkie, 433 F.3d 755 (10th Cir. 2006), reversed and

   remanded on other issues, sub. nom., Wilkie v. Robbins, 551 U.S.

   537(2007). There, this Court held that the defendants’ failure to appeal

   a district court’s denial of dismissal on qualified immunity did not

   divest it of appellate jurisdiction to consider the defendants’ subsequent

   appeal involving denial of summary judgment, because the defendants’

   summary judgment motion had relied, in part, on evidence developed

   during discovery. 433 F.3d at 763. It thus is apparent that, contrary to

   Springer’s contentions, the reasoning in Robbins strongly supports the

   agents’ position here, and, under Robbins, jurisdiction over the instant

   appeal is proper. Indeed, in reaching its decision in Robbins, 433 F.3d

   at 762-763, this Court cited with approval the Ninth Circuit’s decision

   in Knox, 124 F.3d at 1105-07, involving a similar situation regarding

   the further factual development of the record in a Bivens case.

         2. There is no basis for Springer’s argument (Br. 27) that the

   notices of appeal filed by the agents with respect to the District Court’s

   rulings on summary judgment are untimely. The District Court

   entered its order denying the agents’ motion for summary judgment on



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   April 7, 2009. (Aplt.App. 368.) The agents filed a timely motion to

   alter or amend judgment on April 21, 2009, i.e., within 10 days after

   entry of the order denying summary judgment. (Id. at 374.) See former

   Fed. R. Civ. P., Rule 59(e) (motion to alter or amend judgment); former

   Rule 6(a)(2) (computing time period when the period is less than 11

   days). The motion to alter or amend judgment was subsequently

   denied by the District Court in its order entered on May 21, 2009. (Id.

   at 424.)

         The amended notice of appeal filed by the agents on June 16, 2009

   (id. at 432), was timely with respect to the order denying the motion to

   alter or amend entered on May 21, 2009, because it was filed within 30

   days of the entry date of that order. See former Fed. R. App. P., Rule

   4(a)(1) (time for filing notice of appeal). Furthermore, under former

   Rule 4(a)(4), the timely filing of certain post-decision motions (including

   a motion to alter or amend under Rule 59(e)) suspends the start of the

   appeal period until the disposition of those motions. See former Fed. R.

   App. P., Rule 4(a)(4)(A)(iv)(effect of motion to alter or amend on a notice

   of appeal). Accordingly, the 30-day period for appealing the court’s



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   order denying summary judgment did not begin to run until the

   District Court denied the agents’ motion to alter or amend its ruling on

   summary judgment. And the amended notice of appeal was timely with

   respect to the order denying summary judgment, because it was filed

   within 30 days of the entry of the order denying the motion to alter or

   amend. See Wright ex rel. Trust Co. of Kan. v Abbott Lab., Inc., 259

   F.3d 1226, 1232 (10th Cir. 2001)(discussing former Rule 4(a)(4)); Roque-

   Rodriguez v. Lema Moya, 926 F.2d 103, 106 (1st Cir. 1991) (motion to

   alter or amend order denying summary judgment on claim of qualified

   immunity was timely, and tolled period for filing notice of appeal until

   disposition of motion to alter or amend).4

          3. Springer argues (Br. 31-32) that the orders here are not

   appealable because the District Court ruled that a material issue of fact

   remains concerning the original amount of the money counted by the


      4
          Springer is mistaken in arguing (Br. 27) that the District Court’s
   order denying the motion to alter or amend is not an appealable
   interlocutory order. The court’s order denying the motion to alter or
   amend elaborates on the reasons why the court denied the agents’
   motion for summary judgment on qualified immunity. (Att. 1a-5a;
   Aplt.App. 424-428.) Consequently, that order is an appealable
   interlocutory order under Mitchell v. Forsyth to the extent it discusses
   questions of law relating to qualified immunity.

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   agents and whether, how, and when the $2,000 disappeared after it

   was counted. (Att. 8a-9a, Aplt.App. 370-371.) The argument is

   misconceived.

         The District Court’s determination that factual issues remain

   concerning the circumstances surrounding the handling of the money

   does not render its denial of summary judgment nonappealable. As

   discussed in our opening brief (at 23-25), the special agents maintain

   that they are entitled to qualified immunity – even accepting as true

   Springer’s allegations that the agents converted or stole the $2,000,

   and even accepting the District Court’s statement that a material issue

   of the fact remains on that issue – because their conduct, as a matter

   of law, (1) did not violate any of Springer’s constitutional rights under

   the Fourth and Fifth Amendments, and (2) even if it did, any such

   constitutional rights were not clearly established. Since the agents, for

   purposes of this appeal, accept as true the allegations in Springer’s

   complaint, and accept the facts as the District Court viewed them, this

   appeal does not involve a question as to the sufficiency of the evidence.

   See York v. City of Las Cruces, 523 F.3d 1205, 1209 (10th Cir. 2008)

   (“Our jurisdiction also extends to situations where a defendant claims
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   on appeal that accepting the plaintiff's version of the facts as true, he is

   still entitled to qualified immunity.”)5 Therefore, the qualified

   immunity defense asserted by the agents presents precisely the kind of

   purely legal issue that is immediately appealable. See Behrens, 516

   U.S. at 312-313 (fact that material issues remained for trial did not bar

   defendant’s appeal from denial of summary judgment motion based on

   matters of law pertaining to qualified immunity issue).




      5
         Springer argues (Br. 16) that the special agents in the court
   below did not accept as true his allegation that the money was stolen.
   Springer is wrong. The record shows that the special agents – in
   arguing below that there were no legally material issues of fact –
   accepted as true, for summary judgment purposes, the allegation that
   the amount of money counted out by the agents in front of Mrs.
   Springer at the time of the seizure was $19,000, and that $2,000 was
   stolen. (Aplt.App. 421; see also, id. at 221, 259.)
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         B.    The special agents are entitled to qualified
               immunity as a matter of law on the Fourth
               Amendment claim

               1. The seizure of the currency was reasonable
                  and did not violate Springer’s Fourth
                  Amendment rights

         a. In our opening brief (at 30-37), we argued that the actions of

   the defendant special agents in seizing and retaining the currency

   under a facially valid warrant was prima facie reasonable and,

   therefore, did not violate the Fourth Amendment. We also argued (Br.

   33-34) that Springer’s complaint raised only a post-seizure theft claim,

   and that such a claim was insufficient to invoke the protection of the

   Fourth Amendment once the currency had been lawfully seized by the

   agents. Put another way, once the agents lawfully seized the currency,

   the Fourth Amendment no longer applied because Springer no longer

   possessed the currency, constructively or otherwise. See Fox v. Van

   Oosterum, 176 F.3d 342, 351 (6th Cir. 1999) (“the Fourth Amendment

   protects an individual’s interest in retaining possession of property but

   not the interest in regaining possession of property.”) Rather, it is the

   Fifth Amendment, as opposed to the Fourth Amendment, that is the

   relevant source of rights where property is taken indefinitely by the
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   government. See, e.g., Ali v. Ramsdale, 423 F.3d 810, 814-815 (8th Cir.

   2005);Wagner v. Higgins, 754 F.2d 186, 190-191 (6th Cir. 1985); Case v.

   Eslinger, 555 F.3d 1317, 1330 (11th Cir. 2009); Hudson v. Palmer, 468

   U.S. 517, 540 (1984) (O’Connor, J., concurring) (“The loss, theft or

   destruction of property so seized has not, to my knowledge, ever been

   thought to state a Fourth Amendment claim.”). Contra Mom’s, Inc. v.

   Wilman, 109 Fed. Appx. 629, 637 (4th Cir. 2004) (unpublished).

          b. In his answering brief, Springer now alleges (Br. 21), contrary

   to the facts and allegations set out in his complaint regarding a post-

   seizure theft, that the $2,000 was stolen before or during the execution

   of the search warrant. The argument lacks merit and should be

   rejected.6

          Springer’s complaint does not state a viable Fourth Amendment

   claim, because it does not challenge the lawful seizure of the currency

   by the agents pursuant to the search warrant, but contends that the

      6
        In his opposition to the agents’ motion for summary judgment filed
   below, Springer did not articulate any argument to the effect that the
   currency was converted or stolen by the agents before it was seized.
   (Aplt.App. 303-347.) See also Fed. R. Civ. P. 56(e)(2) (opposing party’s
   obligation to respond to summary judgment motion). The District
   Court did not discuss this matter in its opinion on summary judgment,
   and indeed had no reason to do so. (Att. 6a-11a; Aplt.App. 368-373.)
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   full amount of the seized currency was not returned to him. (Aplt. App.

   23-42.)7 Moreover, as explained in Hudson, while the Fourth

   Amendment protects against unreasonable temporary dispossessions, it

   is the Fifth Amendment that protects against indefinite dispossessions.

   See Hudson, 468 U.S. at 539. (O’Connor, J., concurring.) Because

   Springer claimed in his complaint that the currency was stolen (i.e,

   indefinitely dispossessed), it is the Fifth Amendment that would be the

   relevant source of any constitutional rights here. Hence, Springer

   should not be permitted to recast the post-seizure theft allegations in

   his complaint as a pre-seizure Fourth Amendment claim.

          Indeed, contrary to Springer’s contentions on appeal (Br. 21), the

   complaint itself purports to waive any issue of pre-seizure theft.

   Springer explicitly stated in his complaint that it was “undisputed” that

   the agents seized the full amount of the currency at issue ($19,000),



      7
        Although Springer did not challenge the validity of the search
   warrant in his complaint (Aplt.App. 23-43), he now argues (Br. 22) that
   the search warrant was defective because it was not signed by a judge.
   The argument is without merit. The District Court found in its Opinion
   and Order filed on November 25, 2008, that the search warrant was
   signed by a magistrate judge. (Aplt.App. 263.) See also the signed copy
   of the search warrant attached to the Declaration of Melody Nelson.
   (Aplt.App. 179, 187.)
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   that the $2,000 was stolen after the seizure, and that later (in January

   2006) the agents returned only $17,000. Specifically, the complaint

   states as follows (Complt. ¶ 97; Aplt.App. 38; emphasis added):

          Due to the undisputed fact $19,000.00 was seized and taken
          pursuant to a Court Ordered Search Warrant from Plaintiff’s
          home and possession and because only $17,000.00 of said
          seizure actually survived from the search of Plaintiff’s home
          to the depositing bank for the Federal Grand Jury, Agent
          Shern and the other 10 unknown named Agents of the
          Federal Grand Jury and Internal Revenue Service stole
          $2,000.00 from Plaintiff.

   Inasmuch as Springer alleged in his complaint as an “undisputed” fact

   that $2,000 was stolen after the search, and after the seizure of the

   $19,000 pursuant to the search warrant, it follows that the alleged

   conversion occurred outside the scope of the Fourth Amendment, and

   does not give rise to a Bivens suit. See Hudson, 468 U.S. at 539-540

   (O’Connor, J., concurring).8




      8
        Springer’s vague and general assertion in ¶102 of the complaint
   that “a theft had occurred at Plaintiff’s home while the service of
   a warrant to search Plaintiff’s home was being conducted” cannot be
   squared with his statement in¶ 97 of the complaint conceding that the
   alleged theft occurred after the $19,000 was seized and taken by the
   agents pursuant to a court-ordered search warrant. (Aplt.App. 38-39.)
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           Furthermore, the allegations in the complaint that $2,000 was

  stolen make sense only if: (i) $19,000 was the amount of currency

  originally seized by the agents on September 16, 2005; (ii) $2,000 was

  later converted or stolen from the $19,000 in currency that was lawfully

  seized by the agents on September 16, 2005; and (iii) the balance

  ($17,000) was returned to Springer on January 10, 2006. The complaint

  consistently takes this position. See, e.g., Complt. ¶ 57 (“At all times the

  amount counted was $19,000.00.”); Complt. ¶ 59 (“Plaintiff was given a

  receipt from Agent Shern which denotes ‘$19,000’ was seized.”)9;

  Complt. ¶ 74, ¶ 76 (Agent Shern in January 2006 “presented a check to

  Plaintiff in the amount of $17,000.00,” . . . an amount that “was

  $2000.00 less than what was on the receipt given to Plaintiff at the time

  the money was taken . . .”). (Aplt.App. 32, 34.)10


      9
        In fact, the receipt or inventory given to Springer by the agents
   who conducted the search said “[a]pproximately $19,000.00 in U.S.
   Currency” was [s]eized [p]er [w]arrant.” (Aplt.App. 44; emphasis
   added.)
      10
         Springer’s answering brief takes the same position that $19,000
   was the amount of money seized and taken by the agents. See
   Appellee’s Br. 19: “Springer alleged [in the complaint] that Appellants
   discovered $19,000 in cash at his home, purportedly left with the same
   tendering Springer with a receipt showing ‘$19,000’ but only returned
                                                               (continued...)
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           At no time does the complaint allege that there was more than

  $19,000 at the residence on the date of the seizure, “approximately” or

  precisely.11 Thus, if the $2,000 was stolen or converted during the

  search, only $17,000 would have been seized by the agents (i.e., the

  amount later returned to Springer). But Springer admitted in the

  complaint that $19,000 was the amount of currency originally seized

  and taken by the agents pursuant to the court-ordered search warrant

  on September 16, 2005. (Aplt.App. 38.)12 Hence, Springer’s argument

  here (Br. 21) that the alleged theft or conversion occurred prior to or

  during the search is inconsistent with the admission in his complaint


     10
       (...continued)
   months later $17,000 to him.” (Emphasis added.). See also Appellee’s
   Br. 11: “On January 10, 2006, Agent Shern delivered a request to waive
   Springer’s right to sue to Springer with the condition that if Springer
   signed the waiver Springer could have $17,000 of the $19,000 back.”
   (Emphasis added.)
      11
         As an exhibit to his complaint, Springer attached a copy of the
   inventory of items seized pursuant to the search warrant. As
   mentioned, one of the items listed as seized was “[a]pproximately
   $19,000.00 in U.S. Currency.” (Aplt.App. 44.) That exhibit became
   part of the complaint “for all purposes,” including summary judgment.
   Fed. R. Civ. P. 10(c). See also Mountain Fuel Supply Co. v. Johnson,
   586 F.2d 1375, 1382 (10th Cir. 1978).
      12
         See also the Declaration of Jeanie Springer: “At all times the
   amount [of cash counted during the seizure] was $19,000 in paper
   clipped currency and not $17,000.” (Aplt.App. 259.)
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  (and the basic thrust of his lawsuit) that the full $19,000 was seized and

  taken pursuant to the warrant on September 16, 2005, and that the

  $2,000 was converted or stolen after the seizure. (Aplt.App. 38.) See

  Ashcroft v. Iqbal, 129 S.Ct 1937, 1949-50 (2009) (a Bivens complaint

  must state a claim that is plausible on its face); Robbins v. Oklahoma,

  519 F.3d 1242, 1247-48 (10th Cir. 2008) (discussing plausibility

  standard in § 1983 case).

        In sum, Springer has not pleaded a viable Fourth Amendment

  Bivens claim. Once the special agents gave Springer the inventory

  receipt for approximately $19,000 and left the premises, the course of

  the search had ended. If a theft of the currency occurred after the

  agents’ departure, a crime would have been committed, and common-

  law tort principles of conversion might be implicated, but the Fourth

  Amendment is not.




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                 2.   In any event, the special agents’ conduct
                      violated no clearly established Fourth
                      Amendment right

        a. We argued in our opening brief (at 28-30) that, under the

  Supreme Court’s recent decision in Pearson v. Callahan, 129 S.Ct. 808,

  818-823 (2009), this Court has discretion in a Bivens case to address

  whether any alleged constitutional right was clearly established without

  first deciding whether the Constitution prohibits the defendants’

  conduct. We also pointed out that, because the clearly established

  question is significantly easier to resolve here than the question

  whether a constitutional right exists, it would be appropriate under

  Pearson for this Court to address the clearly established question first.

  Springer makes no attempt to refute the argument set forth in our

  opening brief on this point.

        b. We also argued in our opening brief (at 38-42) that there was

  no clearly established law on the date of the seizure holding that a

  conversion or theft of property after it had been lawfully seized violates

  the Fourth Amendment. No Tenth Circuit or Supreme Court decision

  had (or has) recognized such a right. Moreover, although there is a

  circuit split on the question, the great weight of authority from other
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  circuits supports the conclusion that the alleged theft of property seized

  under a valid warrant does not violate the Fourth Amendment. Thus,

  there was no clearly established law when the search warrant was

  executed that put the special agents on notice that their conduct

  violated any Fourth Amendment right. Accordingly, the agents were

  entitled to qualified immunity as a matter of law. See Safford Unified

  School Dist. No. 1 v. Redding, 129 S.Ct. 2633, 2643-44 (2009) (qualified

  immunity warranted where circuit split existed on Fourth Amendment

  issue). Once again, Springer fails to respond directly to our arguments.

        Springer’s reliance (Br. 22-23, 37-39) on Bivens v. Six Unknown

  Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), is

  misplaced. As explained in our opening brief (at 44), the search in

  Bivens was conducted without a warrant. Bivens, 403 U.S. at 389.

  Therefore, Bivens establishes only the general proposition that a

  warrantless search may be actionable under the Fourth Amendment.

  That proposition is not implicated here, as Springer does not challenge

  the lawfulness of the search or the initial seizure of the money, and

  the instant case involves the seizure of evidence under a facially valid

  warrant. Moreover, like the District Court, Springer erroneously fails to
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  analyze the clearly established issue in light of the specific factual

  context of this case. (Att. 4a-5a; Aplt.App. 427-428.) See Simkins v.

  Bruce, 406 F.3d 1239, 1241 (10th Cir. 2005) (the clearly established

  inquiry must be posed in the context of the particular case before the

  court, and not as a general, abstract matter).

        In short, aside from his misplaced reliance on Bivens, Springer

  does not cite any case showing that he has met his burden of alleging

  the violation of a specific, clearly established Fourth Amendment right

  in the factual context of this case. See Davis v. Scherer, 468 U.S. 183,

  197 (1984)(discussing plaintiff’s burden on qualified immunity); Cortez

  v. McCauley, 478 F.3d 1108, 1114 (10th Cir. 2007) (en banc) (same).

  Because the weight of authority indicates that Springer’s post-seizure

  theft claim is not cognizable under the Fourth Amendment, such a right

  cannot reasonably be characterized as clearly established.




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            C. The special agents are entitled to qualified
               immunity as a matter of law on any Fifth
               Amendment claim implicated by the complaint

           1. Although Springer did not formally allege a Fifth Amendment

  claim in his complaint, we pointed out in our opening brief (at 45-47)

  that his allegations are more naturally characterized as a Fifth

  Amendment claim for deprivation of property without due process.

  Thus, assuming arguendo that the Fifth Amendment is implicated by

  Springer’s complaint, we argued in our opening brief (at 46-51) that

  Springer has not been deprived of the constitutional right to due

  process.13

           Due process is not violated where a government official, through a

  random and unauthorized act, deprives a person of his property, so long

  as the government provides adequate post-deprivation remedies.

  Parratt v. Taylor, 451 U.S. 527, 543 (1981), overruled on due process

  issue, Daniels v. Williams, 474 U.S. 327, 330-31 (1986); Hudson v.

  Palmer, 468 U.S. 517, 530-533 (1984). See also Burton-Bey v. United


      13
         Although Springer states in several places in his brief (at 12, 23)
   that his complaint made no Fifth Amendment claim with respect to the
   seizure, he nevertheless advances conclusory Fifth Amendment
   arguments in other places in his brief (at 4, 21-23).
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  States, 100 F.3d 967, 1996 WL 654457 (10th Cir. 1996) (unpublished).

  In this case, Springer has not been deprived of due process, because he

  had adequate post-deprivation remedies regarding the seized currency,

  such as bringing a tort suit under Oklahoma law or under the Federal

  Tort Claims Act. See our opening brief at 49-51. These alternative

  remedies render a Bivens action inappropriate here. See Schweiker v.

  Chilicky, 487 U.S. 412, 423 (1988).14

           Finally, as we argued in our opening brief (at 56-57), it is apparent

  that there was no clearly established law as of the date of the seizure

  that would have put the special agents on notice that their conduct

  violated any Fifth Amendment right in the specific situation they

  confronted. Thus, even accepting Springer’s allegations as true, the

  special agents’ conduct did not violate any clearly established Fifth

  Amendment right.

           Springer does not directly contest our arguments on these points.

  Instead, he simply mentions in passing (Br. 4-5, 21-23, 35) the Supreme

      14
         See also Daniels v. Williams, 474 U.S. 327, 332 (1986) (rejecting
   due process claim in a prisoner § 1983 case: “Our Constitution . . . does
   not purport to supplant traditional tort law in laying down rules of
   conduct to regulate liability for injuries that attend living together in
   society.”)
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  Court’s decision in Carlson v. Green, 446 U.S. 14 (1980) and the Federal

  Tort Claims Act, and argues in a cursory and conclusory manner that

  the District Court’s rulings on these matters are correct. Springer and

  the District Court are wrong, however, for the reasons we discuss at

  some length in our opening brief (at 47-55). It would serve no useful

  purpose to reiterate those reasons here.

         2. In sum, the District Court erred in denying the special

  agents’ motion for summary judgment on qualified immunity. There

  was no clearly established law in 2005 (and there is none today) that

  would have put the special agents on notice that their conduct, as

  alleged by Springer, violated any constitutional right under the Fourth

  or Fifth Amendments. Rather, the great weight of authority supports

  the constitutionality and objective reasonableness of the agents’

  conduct. Accordingly, the agents are entitled to qualified immunity as a

  matter of law, and it would be improper to subject them to an

  evidentiary hearing to address issues of fact and credibility.




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                                  CONCLUSION

        For the reasons stated above and in the appellants’ opening brief,

  this Court should vacate the order of the District Court, and direct it to

  enter judgment in favor of the defendants-appellants.

                                 Respectfully submitted,


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  DECEMBER 2009




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